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                                      STATE OF NEW YORK
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                                              August 24, 2020

    By ECF

    The Honorable Roslynn R. Mauskopf
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

           Re:     Disability Rights New York, et al. v. New York State, et al.
                   USDC EDNY Civil Action No. 17 CV 6965 (RRM) (SJB)

    Dear Judge Mauskopf:

           Plaintiff Disability Rights New York, also known as Disability Advocates, Inc. (“DRNY”
    or “DAI”), commenced this action by filing its original complaint, then its first amended complaint
    (the “FAC”) and then its second amended complaint (the “SAC”) against defendants the State of
    New York, Governor Andrew Cuomo, New York State’s Office For People With Developmental
    Disabilities (“OPWDD”) and OPWDD’s Commissioner.1 This office represents the Defendants.

             Defendants now respectfully request (1) a pre-motion conference with Your Honor to
    discuss the persistent legal defects in DRNY’s current pleading, including defects that go to the
    Court’s subject matter jurisdiction and that warrant dismissal; and (2) entry of an interim stay of
    discovery pending the Court’s further guidance at the pre-motion conference. Defendants request
    this relief in light of (a) the unequivocal guidance provided by Judge Bulsara in his 52-page opinion
    recommending dismissal of substantial portions of the FAC (Docket Entry No. 55); (b) DRNY’s
    decision to perpetuate the very same defects in the SAC, to Defendants’ prejudice, as noted in
    Defendants’ letter to the Court (Docket Entry No. 69); and (c) the further prejudice that will be
    caused to Defendants if discovery is permitted on DRNY’s defective SAC. Defendants also


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      OPWDD coordinates services for more than 130,000 New Yorkers with developmental disabilities,
    including intellectual disabilities, cerebral palsy, Down syndrome, autism spectrum disorders, and
    other neurological impairments.
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 request an adjournment of the answer date currently set for August 24, 2020, pursuant to Your
 Honor’s individual rules. Defendants are prepared to discuss with the Court at the pre-motion
 conference a briefing schedule for the proposed motions.

                                            Background

        After a pre-motion conference with Your Honor on May 16, 2018, at which the Court
 focused DRNY’s attention upon certain serious deficiencies in the original Complaint, including
 DRNY’s lack of standing, DRNY elected to file its FAC on June 6, 2018. As Defendants
 subsequently advised the Court and the parties, despite the opportunity to re-plead, DRNY failed
 to cure in its FAC the deficiencies that the Court had identified during the earlier pre-motion
 conference. They included DRNY’s failure to adequately plead its standing to pursue this action
 and DRNY’s failure to state a claim against defendants pursuant to applicable precedent.

         On October 22, 2018, Defendants moved to dismiss the FAC. On June 14, 2019, Judge
 Bulsara issued a thorough and well-supported report and recommendation (“R&R”) that
 recommended, among other things, that the Court (i) dismiss DRNY for lack of standing; and (ii)
 dismiss Governor Cuomo, Commissioner Delaney and the State of New York, for DRNY’s failure
 to state a claim against them. On June 28, 2019, DRNY lodged objections to Judge Bulsara’s
 R&R; and Defendants opposed those objections by memorandum dated July 19, 2019. The Court
 has not yet issued a ruling on DRNY’s objections.

         Following a status conference with Judge Bulsara at which the R&R and DRNY’s
 objections to it were discussed, DRNY filed its SAC on May 22, 2020. Despite this additional
 opportunity to re-plead, DRNY again failed to cure the defects in its pleading – including the very
 same defects that Your Honor emphasized to DRNY during the May 16, 2018 pre-motion
 conference and on which Judge Bulsara focused in his June 14, 2019 R&R. On May 29, 2020,
 Defendants wrote the Court to provide it notice of these developments and suggested that
 plaintiffs’ objections remained a live controversy for the Court’s decision.

        Although the parties have been engaged in an intensive mediation and settlement
 negotiation process since May 2020, that process now appears to be coming to an end, against
 Defendants’ wishes (the parties have entered into a confidentiality agreement).

               The Proposed Motion to Dismiss The Second Amended Complaint

         The SAC asserts claims against Defendants under Title II of the Americans with
 Disabilities Act (“ADA”) and the Rehabilitation Act (“RA”). In sum and substance, DRNY
 complains that OPWDD discriminates against a class of disabled residential school students by
 continuing to fund and provide them services that they require while they live in residential schools
 and await adult placements in the community. Plaintiffs complain that OPWDD has completed
 these transitions to the community too slowly. In fact, OPWDD coordinates the transition of
 hundreds of such individuals from residential schools to homes in the community each and every
 year, in addition to coordinating services for thousands of other disabled individuals. OPWDD
 has continued to provide its services throughout the course of the current global pandemic.


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         Defendants propose to move to dismiss on the following grounds and hereby reserve their
 right to move on any other ground that may become apparent: (1) to dismiss DRNY for lack of
 standing; and (2) to dismiss Governor Cuomo, Commissioner Kastner and the State of New York
 for DRNY’s failure to state a claim against them, all for the reasons set forth in Defendants’ prior
 briefing in this matter (Docket Entry Nos. 39-40, 43), in Judge Bulsara’s R&R (No. 52), and in
 Defendants’ opposition to DRNY’s meritless objections to Judge Bulsara’s R&R (No. 55).

          Focusing on DRNY’s lack of standing, an association may have standing to bring suit on
 behalf of its members only when, inter alia, “its members would otherwise have standing to sue
 in their own right[.]” DAI v. New York Coalition, 675 F.3d 149, 157 (2d Cir. 2012) (vacating
 judgment and dismissing action for DAI’s lack of standing). Here, despite multiple opportunities
 to amend, DRNY has failed to plead a factual basis sufficient to establish its standing. DRNY has
 not pled, for instance, whether it is a membership organization. In DAI, on appeal after a lengthy
 litigation and complex trial, the Second Circuit found both that DAI “is not a membership
 organization” and that DAI lacked sufficient “indicia of membership” to pursue the action. Id. at
 157-58. Likewise, here, DRNY has failed to plead any factual basis to establish the
 Constitutionally-required “indicia of membership” as outlined in DAI. DRNY pleads that it is
 now New York State’s P&A System, but the Second Circuit has expressly declined to decide
 whether that fact alone is sufficient to satisfy Constitutional standing. Id. In short, despite the
 ample opportunities provided DRNY, and the clear guidance provided by both Your Honor and
 Judge Bulsara, DRNY has failed to plead any factual basis to support its standing under binding
 Supreme Court and Second Circuit precedents.

              The Court Should Enter An Interim Stay of Discovery on The SAC

         On the basis of the foregoing, Defendants submit that discovery on the SAC should be
 stayed. Defendants are prepared to further discuss with the Court the grounds for the stay at the
 pre-motion conference. Pending the Court’s guidance at the pre-motion conference, Defendants
 respectfully request that the Court enter an interim stay of discovery. Defendants’ request for an
 interim stay is supported by good cause, including DRNY’s decision to perpetuate the very same
 defects in DRNY’s pleadings that both Your Honor and Judge Bulsara have identified throughout
 the history of this case but that DRNY has failed to cure despite multiple opportunities to do so.

         By perpetuating these defects since the outset of this litigation, DRNY has required
 Defendants to expend substantial time, effort and resources in motion practice. Defendants seek
 to avoid the additional prejudice of the burdensome and costly discovery that is sure to follow if
 the Court permits discovery on the defective SAC. Moreover, an interim stay will not prejudice
 plaintiffs. Defendants brought to DRNY’s attention the continuing defects in their SAC no later
 than May 29, 2020, in a letter that defendants filed with the Court (No. 69) after sharing the
 substance of that letter with DRNY. DRNY has declined that and every other opportunity to cure
 the defects in its pleading, including the opportunities set forth below. Defendants submit that this
 warrants entry of an interim stay at least through the date of the pre-motion conference. See
 Telesca v. Long Island Housing Partn., 2006 WL 1120636 (E.D.N.Y. 2006) (granting interim stay
 of discovery pending motion to dismiss where there were previous findings in the record that
 plaintiffs’ claims lacked merit and the allegations against defendants remained deficient).


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          To avoid further motion practice and the imposition of additional burdens on the Court,
 Defendants have proposed to DRNY that the parties stipulate to the following procedures, but
 DRNY has refused to assent: (1) to stipulate to dismiss from the SAC the parties that Judge Bulsara
 has recommended in his R&R to dismiss from this case; or (2) to adjourn Defendants’ response
 date to the SAC (today), to permit the Court additional time to resolve DRNY’s objections to Judge
 Bulsara’s R&R; or (3) to stay discovery on the SAC at least through the date of the pre-motion
 conference to avoid the unnecessary burden on Defendants and the inevitable discovery disputes
 that will arise on a pleading that is likely to be dismissed in whole or in part by the Court.

        Accordingly, Defendants respectfully request (1) a pre-motion conference with Your
 Honor to discuss the proposed motion to dismiss the SAC; (2) entry of an interim stay of discovery
 pending the Court’s further guidance at the pre-motion conference; and (3) adjournment of the
 answer date currently set for August 24, 2020, pursuant to Your Honor’s individual rules.

        Defendants thank the Court for its time and attention to this matter.

                                                      Respectfully submitted,

                                                             /s/

                                                      James Mirro
                                                      Assistant Attorney General


 cc: All Counsel (by ECF)




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